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                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION
BRIANNA BOE, et al.,                      )
                                          )
Plaintiffs,                               )
                                          )
v.                                        )      Case No. 2:22-cv-184-LCB
                                          )
STEVE MARSHALL, et al.,                   )
                                          )
Defendants.                               )

                                     ORDER

      Last October, a three-judge panel unanimously found “without hesitation”

that eleven attorneys (the “Respondents”) had purposefully attempted to subvert the

orderly administration of justice by judge-shopping. (Doc. 339 at 51) In reaching

that conclusion, the Panel unanimously rejected the Respondents’ explanations,

unanimously discredited their testimony, and unanimously found that one

Respondent—who was under oath—lied to them outright. (Doc. 339).

      A few weeks ago, the Court learned of a document that some of the

Respondents (the “Walker team”) had created before they first gave testimony to the

Panel. This “Q&A Document” was based on the Walker team’s collective

knowledge, and it contained answers to questions they expected the Panel to ask

them. As part of their hearing prep, drafts of the document were circulated to each

member of the team.
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      On May 17, 2024, the Court ordered Respondents James Esseks, LaTisha

Faulks, Carl Charles, and Kathleen Hartnett and Non-Respondent Milo Inglehart to

e-mail that document to its chambers’ address for an in camera review. Since the

facts support a good faith belief by a reasonable person that the document might lose

any applicable privilege protections under the crime-fraud exception, the Court

concluded that an in camera review was necessary. If the review shows the

document to be irrelevant or the exception inapplicable, they were told, the Court

will not consider it for any purpose.

      Even though “disclos[ing]” the allegedly privileged document to the district

court for in camera review to “determin[e] the merits of a claim of privilege does

not have the legal effect of terminating the privilege,” even though the Supreme

Court has long “approved the practice of requiring parties who seek to avoid

disclosure of documents to make the documents available for in camera inspection,”

and even though that “practice is well established in the federal courts,” United

States v. Zolin, 491 U.S. 554, 568–69 (1989) (emphasis added), the Respondents

opposed the order on privilege grounds. After responses and an emergency petition

to the Eleventh Circuit, the Court stayed its order, granted the Respondents leave to

submit briefs, and heard argument.

      Having now carefully considered the Respondents’ briefs, their arguments at

the hearings of May 20 and May 28, and the controlling law, the Court rejects their


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arguments as unsupported by law or fact. Respondents Esseks, Faulks, Charles, and

Hartnett are therefore ORDERED to produce the Q&A Document by June 18, 2024

at 5:00 p.m.

      This order supersedes the May 17 order (Doc. 527), which is VACATED.

I.    FACTUAL BACKGROUND

      On Friday, April 8, 2022, Governor Kay Ivey signed into law the Alabama

Vulnerable Child Compassion and Protection Act, which criminalized gender-

affirming medical treatments for transgender youths. The law was immediately

challenged by two teams of plaintiffs. In the Northern District of Alabama, Dr.

Morissa J. Ladinsky, Dr. Hussein D. Abdul-Latif, Robert Roe, and Jane Doe sued

the Governor, the Attorney General, and the district attorneys for Shelby and

Jefferson counties in a case styled Ladinsky v. Ivey. Compl., 5:22-cv-447-LCB (N.D.

Ala. April 8, 2022), ECF 1. In the Middle District of Alabama, Jeffrey Walker, Lisa

Walker, H.W., Jeffrey White, Christa White, and C.W. sued the Attorney General

and the district attorneys for Limestone and Lee counties in a case styled Walker v.

Marshall. Compl., 5:22-cv-480-LCB (N.D. Ala. April 11, 2022), ECF 1.

      Ladinsky was docketed on the morning of April 11, 2022 and randomly

assigned to Judge Anna M. Manasco. Compl., 5:22-cv-447-LCB (N.D. Ala. April 8,

2022), ECF 1. Early that afternoon, Judge Manasco recused, Order of Recusal, 5:22-

cv-447-LCB (N.D. Ala. April 11, 2022), ECF 2, and the case was randomly


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reassigned to Magistrate Judge Staci G. Cornelius, Not. of Reassignment, 5:22-cv-

447-LCB (N.D. Ala. April 11, 2022), ECF 3. The parties did not consent to

dispositive jurisdiction by a Magistrate Judge, and so three days later Ladinsky was

randomly reassigned once more to Judge Annemarie Carney Axon. Not. of

Reassignment, 5:22-cv-447-LCB (N.D. Ala. April 14, 2022), ECF 11.

      Meanwhile, on April 12, 2022, Walker was docketed in the Middle District

and randomly assigned to Chief Judge Emily C. Marks. Compl., 5:22-cv-480-LCB

(N.D. Ala. April 11, 2022), ECF 1. That day after business hours, the Walker

plaintiffs filed a motion to reassign the case to Judge Myron H. Thompson, who

previously presided over a case called Corbitt v. Taylor. Pls.’ Mot. to Reassign to

Judge Myron H. Thompson, 5:22-cv-480-LCB (N.D. Ala. April 12, 2022), ECF 8.

Minutes later, the Walker plaintiffs moved for a temporary restraining order or

preliminary injunction to block enforcement of the Act. Pls.’ Mot. for TRO or

Prelim. Inj., 22-cv-480-LCB (N.D. Ala. April 12, 2022), ECF 9. Before filing that

motion, counsel for the Walker plaintiffs took steps to steer the case to Judge

Thompson—including marking the case related to Corbitt on the case’s civil cover

sheet and calling Judge Thompson’s chambers to let him know they’d soon be

moving for a preliminary injunction. (Doc. 339 at 6).

      The next day, Chief Judge Marks entered an order to show cause why Walker

should not be transferred to the Northern District of Alabama, where Ladinsky, the


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first-filed action, was pending. Order, 5:22-cv-480-LCB (N.D. Ala. April 13, 2022),

ECF 3.

      Around 9:00 p.m. the day after, counsel for Walker plaintiffs responded to the

order to show cause, withdrew their motion to reassign Walker to Judge Thompson,

and indicated that the plaintiffs’ interest was “in the expeditious injunction of the

unconstitutional law they challenge,” so they would “seek to pursue their motion for

this preliminary relief expeditiously in the Northern District.” Pls.’ Resp. to Order

to Show Cause, 5:22-cv-480-LCB (N.D. Ala. April 14, 2022), ECF 18.

      The central events in the case history, however, took place on Friday, April

15. That morning, Chief Judge Marks transferred Walker to the Northern District of

Alabama, “mak[ing] no finding on the issues of consolidation” with Ladinsky. Order

at 2, 5:22-cv-480-LCB (N.D. Ala. April 15, 2022), ECF 20. Upon transfer to the

Northern District, Walker was docketed in the Northeastern Division because no

division had been designated and the only parties named in the suit from that district

resided there. (Doc. 339 at 7). At docketing, Walker was randomly assigned to this

Court, 5:22-cv-480-LCB (N.D. Ala. April 15, 2022), ECF 21, and at 4:07 p.m. that

day, the Court set the matter for a status conference first thing the next business day.

Order, 5:22-cv-480-LCB (N.D. Ala. April 15, 2022), ECF 22.

      At 4:41 Friday afternoon, given Walker’s pending motion for a preliminary

injunction and the pressing claims for injunctive relief raised in Ladinsky, Judge


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Axon transferred Ladinsky to this Court “[i]n the interest of efficiency and judicial

economy,” Order, 5:22-cv-447-LCB (N.D. Ala. April 15, 2022), ECF 14.1

         At 6:25 that evening, the Walker plaintiffs voluntarily dismissed their case

under Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure. Pls.’ Not. of Vol.

Dismissal, 5:22-cv-480-LCB (N.D. Ala. April 15, 2022), ECF 23. Nine minutes

later, the Ladinsky plaintiffs did too. (Ladinsky Doc. 15). Pls.’ Not. of Vol.

Dismissal, 5:22-cv-447-LCB (N.D. Ala. April 15, 2022), ECF 15.

         Sometime the next day, one of the lead attorneys for the Ladinsky plaintiffs,

Melody Eagan, told a reporter that her team “plan[ned] to refile immediately,”2 a

statement she reiterated to a different media outlet the next Monday.3 And sure

enough, Ladinsky counsel filed a new lawsuit on April 19, 2022, in the Middle

District of Alabama with a new slate of plaintiffs.4 (Doc. 1). Since it had presided

over Walker and Ladinsky, this Court was reassigned the new case two days later

under “the authority of the Court to manage the district court docket, promote the

1
    Judge Axon was presiding over a criminal trial with multiple issues and defendants.
2
  Paul Gattis, “Lawsuits Seeking To Overturn New Alabama Transgender Law Dropped, Could
Be Refiled.” AL.com (Apr. 16, 2022, 5:43 p.m.), https://www.al.com/news/2022/04/lawsuits-
seeking-to-overturn-new-alabama-transgender-law-dropped-could-be-refiled.html.
3
  See Brian Lyman, “Attorney: Plaintiffs Challenging Alabama’s Ban On Transgender Medicine
Plan     New   Case.”     Montgomery       Adviser    (Apr.   18,   2022,    11:34  a.m.),
https://www.montgomeryadvertiser.com/story/news/2022/04/18/plaintiffs-challenging-
alabamaban-transgender-medicine-plan-new-case-sb-184-kay-ivey-lawsuit/7355576001/.
4
  Namely, Rev. Paul A. Eknes-Tucker, and pseudonymous plaintiffs Brianna Boe, James Zoe,
Megan Poe, Kathy Noe, Dr. Jane Moe, and Dr. Rachel Koe, who sued the Governor, the Attorney
General, the district attorneys for Montgomery, Cullman, Lee, and Jefferson counties, and the
district attorney for the 12th Judicial Circuit.
                                                  6
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orderly and expeditious disposition of cases, and reassign a case to a judge who

presided over a prior-related case.” (Doc. 3).

      By then, the Court had denied Walker’s motion for temporary restraining

order as moot and closed the case. Order, 5:22-cv-480-LCB (N.D. Ala. April 18,

2022), ECF 24. In its closing order, the Court observed that the filing activity and

media statements surrounding the two cases “could give the appearance of judge

shopping,” and it warned that such a practice risked creating “an appearance of

impropriety in the judicial system.” Id. at 3. With this admonition, the Court directed

the Clerk of Court to forward a copy of its order to the chief judge of each federal

district court in Alabama. Id. at 3-4.

      On review of the order, the Chief Judges independently concluded that

counsel’s filing activity and media statements warranted an investigation, and on

May 10, they empaneled three district judges—one from each district—to conduct

an inquiry. Invoking the district court’s “inherent authority to address lawyer

conduct that abuses the judicial process,” the Panel summoned all thirty-nine

attorneys who had signed Walker, Ladinsky, or this case to appear ten days later for

the purpose of “inquir[ing] about the issues raised by counsel’s action” and whether

they had purposefully sought to subvert the random case-assignment procedures for

the Northern and Middle Districts of Alabama. Order at 5, In re Vague, 2:22-mc-

3977-LCB (M.D. Ala. May 10, 2022), ECF 1.


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      On the first day of the hearings, the Panel categorized the attorneys based on

their knowledge of and roles in the decision-making behind Walker and Ladinsky

and divided them into three groups: (1) attorneys with knowledge but no input;

(2) attorneys with knowledge and input; and (3) leaders and decision-makers.

(Doc. 339 at 11). To streamline the inquiry, the Panel charged the Honorable Justice

R. Bernard Harwood with taking testimony from the first group of attorneys,

including testimony on whether they had “received any instructions or special

coaching on what [they were] supposed to say in [the] hearing.” Tr. Evidentiary Hr’g

at 75-76, In re Vague, 2:22-mc-3977-LCB (M.D. Ala. October 10, 2023), ECF 75.

      During this questioning, a Walker attorney named Zoë Helstrom testified that

she’d “had conversations about . . . potential questions that, if we were to be asked

questions, we might encounter and what the facts were in terms of . . . each

question.” Tr. Evidentiary Hr’g at 34, In re Vague, 2:22-mc-3977-LCB (M.D. Ala.

November 2, 2023), ECF 98. Another Walker attorney, Milo Inglehart, testified that

he and others reviewed a “Q&A document” by counsel to prepare for the inquiry:

      JUSTICE HARWOOD: Okay. You heard me earlier on say that one of
      the questions the judges had wanted me to ask, has anyone coached you
      or suggested to you any testimony you should give? That is, if you were
      asked a certain question, here’s what you should say?
      MILO INGLEHART: I don’t think so. Not quite like that. We met with
      our counsel, Barry, a few times who sort of explained to us what he
      thought might generally—
      JUSTICE HARWOOD: Barry Ragsdale?

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      MILO INGLEHART: Barry Ragsdale, yeah. Sorry, sir. We didn’t get
      specific things to say. There was a sort of Q and A document that was
      circulated, I think, last night for us or maybe a draft was circulated
      earlier in the week, but the final version was circulated last night that
      kind of walked through, like, things they think might come up or like—
      yeah, just to sort of prep folks.
      And beyond that, Lynly and Dale and I were going to have a meeting
      on Thursday night—no. Sorry—on Wednesday night, but it ended up
      getting canceled. So I just ended up going to the group calls and looking
      over the document.
      JUSTICE HARWOOD: Okay. When you say “Q and A,” “A” would
      be the answers. Was there a suggestion, all right. If you’re asked this
      question, here’s the answer to use?
      MILO INGLEHART: Usually it was sort of like—I’m trying to
      remember. I just looked over it last night—like, outlining, like—like,
      general—it wasn’t like a word-for-word thing, but like things that might
      be useful to touch on or like—yeah.
      JUSTICE HARWOOD: All right.
Tr. Evidentiary Hr’g at 54-55, In re Vague, 2:22-mc-3977-LCB (M.D. Ala.

November 2, 2023), ECF 98.

      Of the twenty-one Walker attorneys interviewed, only Mr. Inglehart disclosed

the existence of the Q&A Document.

      On July 8, the Panel ordered twenty-one of the respondents—thirteen from

Ladinsky, eight from Walker—to file in camera declarations and “make full,

complete, and transparent disclosure[s] of [their] participation in and knowledge of”

the eight topics listed in the order, one of which concerned those respondents’

preparations for the inquiry’s first hearing. Order at 2-3, In re Vague, 2:22-mc-3977-

LCB (M.D. Ala. 2022 July 8, 2022), ECF 22. Specifically, each respondent was
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ordered to disclose “[a]ny knowledge [he or she] [has] that relates to (1) preparation

for the hearing in this matter (including circulation of any Q & A document), and

(2) the questions expected to be asked or that were actually asked by the court at the

May 20, 2022 hearing.” Id. at 3. Mr. Inglehart was also ordered to “attach a copy of

the Q & A sheet referenced at the May 20 proceeding.” Id. at 2 n.1.

      Six days before the submissions were due, the Walker team sought a

protective order that would “prevent[] the disclosure of any information related to

their preparations with counsel for the May 20, 2022 hearing that is protected by the

attorney-client privilege and the attorney work product doctrine, including the

‘Q & A’ document referenced in the Panel’s July 8, 2022 Order.” Mot. Protective

Order at 1, In re Vague, 2:22-mc-3977-LCB (M.D. Ala. July 21, 2022), ECF 34. As

grounds for their motion, counsel argued that there was “an irreconcilable conflict”

between the Panel’s role investigating the respondents’ conduct and the task of

reviewing “the strategy, mental impressions, and thought processes” of the

respondents’ counsel, so an in camera review “would be inconsistent with the core

function of the attorney client privilege, the attorney work product doctrine, as well

as basic norms of due process and fairness.” Id. at 7-8.

      The Panel rejected their arguments on the ground that the Panel was

“comprised of judges, not party-opponents” and denied their motion. Order at 3, In

re Vague, 2:22-mc-3977-LCB (M.D. Ala. July 25, 2022), ECF 41. The Panel noted


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that the “July 8, 2022 Order ma[de] clear” that “the Panel [was] not seeking the

disclosure of privileged communications”; that, “[t]o the extent the materials that

must be disclosed to the Panel [were] work product, all disclosures [were] to be made

in camera”; and that “Walker Counsel’s Motion for Protective Order (Doc. # 34)

[was] DENIED.” Id. at 4.

       Mr. Inglehart nevertheless refused to produce the Q&A Document for in

camera review at the “advice and direction of counsel,” Barry Ragsdale.5 Decl. Milo

R. Inglehart at 10, In re Vague, 2:22-mc-3977-LCB (M.D. Ala. October 11, 2023),

ECF 80-15.6

       Two months later, the Panel excused twenty-one of the respondents from the

inquiry (including Mr. Inglehart) and “release[d] them from any obligation under the

May 10, 2022 and July 8, 2022 orders. Order, In re Vague, 2:22-mc-3977-LCB

5
   Respondents contend the Panel exempted the Q&A from production as a privileged
communication, so no one violated the July 8 order. Perhaps the fairest way to characterize the
exchange with the Panel over the Q&A is this: On July 8, 2022, the Panel ordered Mr. Inglehart to
produce the Q&A for in camera review. The Walker Respondents opposed the order, moved for
permission not to produce it, and were denied relief. At the same time, the Panel clarified that the
respondents’ declarations as to their “knowledge” of the eight topics listed in the July 8 order
needn’t include “privileged communications” about those topics, while work product, like the
Q&A, would still need to be turned over for in camera review. After this, Mr. Ragsdale unilaterally
decided that Mr. Inglehart could avoid producing the Q&A Document anyway—even though the
Panel had just rejected counsel’s arguments that the attorney-client privilege or the work-product
doctrine shielded it from disclosure—because the July 25 order exempted “privileged
communications” from disclosure in the respondents’ declarations. Even though the Panel denied
the request for a protective order, Mr. Inglehart nonetheless withheld the Q&A document as
privileged at his counsel’s advice.
6
  Mr. Ragsdale represented the whole Walker team at least until he filed this notice of objections.
A few days afterwards, however, Ms. Hartnett hired her own attorney, Brannon Buck, who has
represented her ever since. (Doc. 568 at 54).
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(M.D. Ala. September 23, 2022), ECF 59. Mr. Inglehart never produced the Q&A

Document.

      In the Panel’s final hearing on November 3, 2022, the Panel acknowledged in

a dialogue with counsel for some of the Ladinsky attorneys, Bobby Segall, that it had

not enforced its production order:

      MR. SEGALL: [A]t the beginning of the August 3-4 [hearing], the
      parties asked for a continuing objection on the basis of privilege. I
      would like—which you granted. You denied, but you denied the
      objections.
      JUDGE PROCTOR: We overruled the objection, but we gave you the
      right to assert the objection globally on these matters.
      MR. SEGALL: Right. And I would like to be treated as having made a
      similar objection on August 3, 4. And I would also, Your Honor, like
      for today’s purposes to have a continuing objection on the basis of all
      the privileges that have been mentioned, work product, attorney-client,
      common interest, joint client, et cetera.
      JUDGE PROCTOR: And that’s the interesting road we’ve kind of
      navigated, it seems, in this matter is we started off with a limited waiver
      where the parties came in and—I’m not sure you said this, but other
      counsel said this—that we don’t have anything to hide, we’re going to
      be cards up, we’re going to explain this decision to you. And I think
      even—what I recall was even when Judge Burke convened the initial
      status conference in Ecknes-Tucker, Mr. Doss and Ms. Eagan were
      prepared to explain to him all the decisions that were made about this.

      On the other hand, we certainly understand we’ve not made you provide
      us documents, the Q & A sheet, the talking points that Doss was going
      to use either here or before Judge Burke at that hearing. So we’re all
      right with y’all asserting anything we’re not actually saying is work
      product we’re reserving our work product objections. But I thought that
      there had been a decision to be somewhat candid with the Court about
      why these decisions were made. Am I missing the boat on my
      recollection here?
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Tr. Evidentiary Hr’g at 4-5, In re Vague, 2:22-mc-3977-LCB (M.D. Ala. October

10, 2023), ECF 79.

      Ultimately, the Panel issued an exhaustive 53-page Final Report of Inquiry

that unanimously found “without hesitation” that eleven of the Walker and Ladinsky

attorneys “purposefully attempted to circumvent the random case assignment

procedures of the United States District Courts for the Northern District of Alabama

and the Middle District of Alabama.” (Doc. 339 at 51.) The Panel enumerated ten

specific categories of misconduct (Doc. 339 at 51-52), and it found that one member

of the Walker team, Mr. Carl Charles, intentionally misled the Panel in sworn

testimony about a call he made to the chambers of Judge Thompson (id. at 20). The

Panel then referred the matter to the undersigned to proceed as appropriate. Id. at 52.

      On May 17, 2024, after (1) reviewing the record, (2) learning that the Panel

never received the Q&A Document, and (3) independently concluding that an in

camera review of the document was necessary and appropriate, the Court ordered

Respondents James Esseks, LaTisha Faulks, Carl Charles, and Kathleen Hartnett and

Non-Respondent Milo Inglehart to produce the Q&A Document by May 20 at 5:00

p.m. (Doc. 527).

      The next day, Hartnett responded to the Court’s order and filed an emergency

motion for a status conference and stay of the production deadline. (Doc. 528). The

day after saw four filings: a response to the order from Esseks, Faulks, and Charles


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(Doc. 529), a joinder in Hartnett’s motion from the same three Respondents

(Doc. 531), a motion from Mr. Inglehart to be excused from the directives of the

Court’s order (Doc. 530), and a notice from Hartnett of her intent to file an

emergency motion to stay and petition for writ of mandamus in the Eleventh Circuit.

(Doc. 532).

        On the morning of May 20, the Court set the matter for a status conference at

1:30 the same afternoon. (Doc. 533). Before the hearing began, Hartnett filed her

petition for a writ of mandamus with the U.S. Court of Appeals for the Eleventh

Circuit, soon thereafter filing her notice with the Court. (Doc. 534). After hearing

from the Respondents at the status conference, the Court stayed the deadline to

produce the Q&A Document and allowed additional briefing, setting the matter for

further argument on May 28. A few days later, the Court extended the stay to allow

the Respondents to file briefing and orally argue the issue. (Doc. 548). The

Respondents filed joint briefing (Doc. 552), and on May 28, the Court heard

argument on the matter.

II.     DISCUSSION
        After careful consideration of the Respondents’ briefs, their arguments at the

hearings of May 20 and 28, and the controlling law, the Court concludes that the

Respondents must submit the Q&A Document for in camera review to determine

whether the crime-fraud exception deprives it of any privilege protections that might


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otherwise apply. The Court finds without question that the facts support a prima

facie showing that the crime-fraud exception will apply.

         The Respondents have filed three responses, an emergency petition for writ

of mandamus in the Eleventh Circuit, and, after the Court stayed the production

deadline, a joint brief on the crime-fraud exception. Through these filings, the

Respondents make three main arguments—none of them supported by the law or the

facts.

         First, they claim the Panel either never ordered the Q&A Document to be

produced or released them from any order to produce it. This argument is irrelevant

(because the Court independently ordered the Respondents to produce the Q&A

Document) and wrong (because they misunderstand the Panel’s previous orders).

Second, the Respondents contend that the attorney-client privilege and work-product

doctrine shield the Q&A Document even from in camera review. This argument

fails because the facts support prima facie showing that the crime-fraud exception

deprives the document of any privilege protection. Finally, the Respondents insist

that any in camera review of the Q&A Document should be conducted by a special

master because they cannot depend on this Court (or any federal district judge in the

State of Alabama) to conduct a fair and impartial in camera review. Citing neither

case nor doctrine of law, the Respondents buttress this claim with quotations cherry-

picked from two practitioners’ articles. This final contention also fails, not only


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because it rests on sheer conjecture but because it contradicts current black-letter

law and the centuries-old practice of in camera review.

      A. The Respondents’ briefs before this Court and the Eleventh
         Circuit have misrepresented the case history.

      The Court is doubtless vested with the inherent authority to order the

Respondents to produce the Q&A Document, see Chambers v. NASCO, Inc., 501

U.S. 32, 43-45 (1991), but the history of the proceedings supplies the relevant

context for its first order to do so. After reviewing the record, the Court learned that

the Q&A Document was never disclosed to the Panel. Given its apparent relevance

and the Court’s prima facie finding about the crime-fraud exception, the Court

independently and of its own authority ordered both Mr. Inglehart and the Walker

Respondents to produce it for in camera review. As the order made plain, that

production was to be for the limited purpose of determining whether the crime-fraud

exception would defeat any protections the Q&A Document might otherwise enjoy;

it would not be disclosed to anyone nor used in these proceedings unless the in

camera review—and further briefing and argument from the Respondents—

confirmed that the crime-fraud exception defeated the protections of the attorney-

client privilege and work-product doctrine. The order rested on nothing in the record

save the record’s absence of the Q&A. It was neither enforcing the Panel’s order of

July 8, 2022 to produce the document nor sanctioning Mr. Inglehart or the

Respondents for violating it.

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      B.     Neither the attorney-client privilege nor the work-product
             doctrine shields the Q&A Document from in camera review.
      As noted in the Court’s previous order, the Q&A Document is even more

relevant now than when the Panel first ordered its disclosure. The Court must decide

whether sanctions are appropriate for each of the four Walker Respondents, a task

that calls for assessing whether the Walker Respondents simply recollected events

differently when they testified to the Panel or coordinated their testimony to mislead

the Panel about their conduct. Put differently, the Court’s assessment of whether

each Walker Respondent acted in good faith or bad faith requires an in camera

review of the Q&A Document.

             i.   The Q&A Document is relevant to the task of
                  determining whether sanctions are warranted for
                  Esseks, Faulks, Charles, and Hartnett.

      The Q&A Document is indisputably relevant to the Court’s ultimate task of

deciding whether to sanction the Walker Respondents. The Panel’s findings of

misconduct came after six months of hearings, voluminous filings, ample argument,

and nearly a year of consideration. In addition to ten enumerated findings of judge-

shopping misconduct, the Panel made 34 pages of factual findings based on the

testimony of all thirty-nine responding attorneys, some of which concerned the

Walker Respondents’ failure to secure their permission from their clients before

dismissing the case and their lack of candor to the Panel. Citing testimony from

Esseks as one example of many, the Panel found “Walker counsel’s candor on the

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whole [was] concerning.” (Doc. 339. at 18 n.3). It also found that Charles, a member

of the Walker team, had “deliberately misled the Panel” about a phone call he made

to Judge Thompson’s chambers. Id. at 20.

      Given the Panel’s findings of misconduct, its express concerns about the

Respondents’      truthfulness,    troubling    inconsistencies     and     apparent

misrepresentations in their testimony, and one prima facie case of perjury, the Court

ordered the Respondents to show cause why they shouldn’t be sanctioned for the

judge-shopping misconduct identified by the Panel and the misrepresentations and

non-disclosures described in the Panel’s Report. (Docs. 406, 478, 479, 480, 481,

482, 483, 484, 485, 486, 487 & 488). It also ordered the Walker Respondents to show

cause why they shouldn’t be sanctioned for failing to seek or secure their clients’

consent before dismissing their case, (Docs. 406, 478, 479, 481 & 486), and Charles

to show cause why he shouldn’t be sanctioned for perjury. (Doc. 406 & 481).

      In these proceedings, the Court is operating under its inherent power to

sanction attorneys for bad faith conduct that “abuses the judicial process.”

Chambers, Inc., 501 U.S. at 43-45. Against the backdrop of misconduct,

misrepresentations, non-disclosure, and possible perjury set forth in the Panel’s

Report, the Q&A document is highly relevant to the task of determining whether

sanctions are warranted for the Walker Respondents. The Court cannot know how




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much weight to assign the document, if any, until it has reviewed its contents in

camera, but there can be no question about its relevance.

      Esseks’s descriptions of the Q&A document (which counsel reaffirmed at the

May 28 hearing) support this finding. According to Esseks’s declaration, which was

attached to the Walker Respondents’ motion for protective order before the Panel,

“Walker counsel worked closely with Mr. Ragsdale to provide information regarding

the facts and circumstances” concerning the Panel’s order to appear and “to assist

Mr. Ragsdale in preparing for the May 20, 2022 hearing.” Decl. James D. Esseks

Supp. Walker Counsel’s Mot. Protective Order at 2-3, In re Vague, 2:22-mc-3977-

LCB (M.D. Ala. 2022 July 21, 2022), ECF 34-1.

      As part of those preparations, “Mr. Ragsdale directed Walker Counsel to

prepare a document containing answers to potential questions they believed the

Panel may ask about the events described in the May 10 Order.” Id. Mr. Esseks

understood the document to have been designed in part “to ensure that Mr. Ragsdale

could prepare any senior members of Walker Counsel who might be required to

address the Panel.” Id. at 3. And to that end, “the senior members of Walker Counsel

generated a list of potential questions and answers based on their collective

knowledge of the events leading up to the May 20 hearing,” after which they

discussed the document with counsel and shared it with junior members of the team.

Id. (emphasis added).


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      In further support of the document’s relevance is the fact Mr. Esseks’s co-

counsel told a different story about the document’s purpose. According to Mr.

Inglehart, the Q&A Document “was circulated . . . just to sort of prep folks.” Tr.

Evidentiary Hr’g at 55, In re Vague, 2:22-mc-3977-LCB (M.D. Ala. November 2,

2023), ECF 98. The Q&A Document, which Mr. Ragsdale circulated to him in

drafts, “outlin[ed] . . . things that might be useful to touch on.” Id. Mr. Inglehart

discussed the Q&A document in response to questions about how he prepared

himself (not Mr. Ragsdale or senior Walker lawyers) for the Panel hearing, and

whether anyone suggested specific testimony to him. See id.

      Mr. Esseks’s declaration explains that the Q&A Document was based on

counsel’s “collective knowledge” and designed to “prepare any senior members of

Walker Counsel who might be required to address the Panel,” and it was reviewed

by all members of the team before the first day of testimony. Decl. James D. Esseks

Supp. Walker Counsel’s Mot. Protective Order at 2-3, In re Vague, 2:22-mc-3977-

LCB (M.D. Ala. 2022 July 21, 2022), ECF 34-1. In tension with this is that Mr.

Inglehart’s testimony, which was given two months before Mr. Esseks’s declaration,

presents the troubling inconsistency that the document was in fact created to prepare

all members of the Walker team for the hearing. See Tr. Evidentiary Hr’g at 55, In

re Vague, 2:22-mc-3977-LCB (M.D. Ala. November 2, 2023), ECF 98.




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      Ultimately, the Panel didn’t credit Walker counsel’s testimonial account of

the facts. Even so, whether the Walker Respondents coordinated materially omissive

or otherwise misleading testimony to the Panel is crucial to the Court’s evaluation

of those Respondents’ good or bad faith and to its work to fix an appropriate

sanction. Until it reviews the document, the Court cannot know whether it reflects a

good faith attempt to prepare for a hearing, an orchestrated attempt to distract or

mislead the Panel, or something else entirely. Whatever the document might show,

it’s now highly relevant to the Court’s ultimate task.

            ii.   If applicable, the crime-fraud exception will defeat any
                  protections the Q&A Document would otherwise enjoy
                  under attorney-client privilege or the work-product
                  doctrine.
      The Respondents chiefly oppose producing the Q&A on the grounds that it’s

“classic attorney-client privileged material” and attorney work product, and, so they

say, there’s no basis for finding an exception to either protection. (Doc. 552 at 24).

Assuming, for the moment, that the Respondents are right that the document is

presumptively entitled to the protections of attorney-client privilege and the work-

product doctrine, they are wrong that the story ends there. If the crime-fraud

exception applies, then those protections yield. See Drummond Co., Inc. v. Conrad

& Scherer, LLP, 885 F.3d 1324, 1335 (11th Cir. 2018) (holding that “the crime-

fraud exception removes the ‘seal of secrecy’ from attorney-client communications



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or work product materials when they are made in furtherance of an ongoing or future

crime or fraud”).

      The protections of the attorney-client and work-product privileges are “not

absolute.” Drummond Co., Inc., 885 F.3d at 1335; see also In re Grand Jury

Investigation (Schroeder), 842 F.2d 1223 (11th Cir. 1987). “The crime-fraud

exception removes the ‘seal of secrecy’ from attorney-client communications or

work product materials when they are made in furtherance of an ongoing or future

crime or fraud.” Drummond Co., Inc., 885 F.3d at 1335. The purpose of the

exception is “to assure that the ‘seal of secrecy’ between lawyer and client does not

extend to communications made for the purpose of getting advice for the

commission of a fraud or crime.” Zolin, 491 U.S. at 563 (cleaned up).

      The crime-fraud exception applies only on a two-part showing. Schroeder,

842 F.2d at 1226. First, there must “be a prima facie showing that the client was

engaged in criminal or fraudulent conduct when he sought the advice of counsel,

that he was planning such conduct when he sought the advice of counsel, or that he

committed a crime or fraud subsequent to receiving the benefit of counsel’s advice.”

Id. Second, there must “be a showing that the attorney’s assistance was obtained in

furtherance of the criminal or fraudulent activity or was closely related to it.” Id.

      The evidentiary burden required to prove the first part is “a showing of

evidence that, if believed by a trier of fact, would establish the elements of some


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violation that was ongoing or about to be committed.” Id. The showing must be

anchored “in fact, for mere allegations of criminality are insufficient to warrant

application of the exception.” Id. For the second part, the document must be “related

to the criminal or fraudulent activity established under the first [part],” bearing in

mind that it remains unknown “precisely what the material will reveal or how useful

it will be.” Id. at 1227.

       The Respondents have erroneously asserted that the Panel “suggested” or

“appeared to believe” that the crime-fraud exception was inapplicable. More

particularly, their joint brief asserts that “the Panel suggested that the crime-fraud

exception may not be available in these proceedings at all,” (Doc. 552 at 25 n.6),

while their withdrawn mandamus petition claimed “the Panel appeared to believe

that invocation of this exception was unavailable in the investigation due to the

Panel’s insistence that the investigation is a non-adversarial proceeding,” (Doc. 534

at 21 n.6). The Panel simply observed that in these proceedings, there is no adversary

to raise the issue of the crime-fraud exception—the Panel did not suggest, let alone

find, that the exception could not apply. Order at 3, In re Vague, 2:22-mc-3977-LCB

(M.D. Ala. July 25, 2022), ECF 41. When pressed to reconcile the Panel’s

observation with the Respondents’ argument, Ms. Hartnett’s counsel conceded that

the Court is empowered to raise the exception on its own. (Doc. 568 at 43-44).




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            iii.   The facts support the prima facie case necessary for an
                   in camera review of the Q&A Document.
      District courts routinely review privileged documents in camera to evaluate

whether the crime-fraud exception applies. See Schroeder, 842 F.2d at 1226. And a

district court’s finding that in camera review of a privileged document is warranted

on crime-fraud grounds does not mean the district court has conclusively found that

a client has enlisted the attorney’s help to commit a crime or fraud, since the

evidentiary threshold for an in camera review is so much lower than the threshold

for defeating the privilege. The former requires only “a factual basis adequate to

support a good faith belief by a reasonable person” that the in camera review “may

reveal evidence to establish the claim that the crime-fraud exception applies.” Zolin,

491 U.S. at 572. The latter requires satisfaction of the two-part test discussed in Part

II(B)(ii) above. See Schroeder, 842 F.2d at 1226.

      So, in this case, the Court may review the Q&A Document in camera only if

the facts “support a good faith belief by a reasonable person,” Zolin, 491 U.S. at 572,

that the review will turn up evidence of (1) a prima facie showing that any of the

Walker Respondents were “engaged in criminal or fraudulent conduct when [they]

sought the advice of counsel, that [they were] planning such conduct when [they]

sought the advice of counsel, or that [they] committed a crime or fraud subsequent

to receiving the benefit of counsel’s advice”; and (2) the Q&A Document was “in

furtherance of the criminal or fraudulent activity or was closely related to it,”

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Schroeder, 842 F.2d at 1226. The Court may rely only on “evidence that, if believed

by a trier of fact, would establish the elements of some violation that was ongoing

or about to be committed.” Id. This calls for a review of all the evidence that would

support the putative crime or fraud.

      The record establishes a factual basis adequate to support a good faith belief

by a reasonable person that the crime-fraud exception applies to the Q&A Document

on at least two independent grounds. First, the facts support a good faith belief by a

reasonable person that Mr. Charles intentionally lied to the Panel, and perhaps

committed perjury, which is a federal crime. Second, the facts support a good faith

belief by a reasonable person that Esseks, Faulks, Charles, and Hartnett committed

fraud on the court by coordinating testimony to mislead the Panel. The Court

discusses each ground in turn.

      Perjury. The findings set forth in the Panel’s Report and the transcript from

the May 20, 2022 hearing each independently support a prima facie case that Carl

Charles perjured himself. On this issue, the first required showing is that there is a

good-faith belief by a reasonable person that Mr. Charles committed perjury after

“receiving the benefit of counsel’s advice.” Schroeder, 842 F.2d at 1226. That

showing can be made by “evidence that, if believed by a trier of fact, would establish

the elements” of perjury “that was ongoing or about to be committed.” Id. There’s

no doubt that evidence exists here.


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      Under 18 U.S.C. § 1621, whoever—

             (1) having taken an oath before a competent tribunal, officer, or
             person, in any case in which a law of the United States
             authorizes an oath to be administered, that he will testify,
             declare, depose, or certify truly, or that any written testimony,
             declaration, deposition, or certificate by him subscribed, is true,
             willfully and contrary to such oath states or subscribes any
             material matter which he does not believe to be true; or

             (2) in any declaration, certificate, verification, or statement under
             penalty of perjury as permitted under section 1746 of title 28,
             United States Code, willfully subscribes as true any material
             matter which he does not believe to be true;

      is guilty of perjury and shall, except as otherwise expressly provided by
      law, be fined under this title or imprisoned not more than five years, or
      both. This section is applicable whether the statement or subscription is
      made within or without the United States.

Both the transcript and the Panel’s findings show “(1) an oath authorized by a law

of the United States, (2) taken before a competent tribunal, officer or person, and

(3) a false statement wilfully made as to facts material to the hearing.” United States

v. Hvass, 355 U.S. 570, 574 (1958).

      Mr. Charles was under oath, he was testifying before a competent tribunal of

three federal district court judges convened at the direction of the Chief Judges of

each District in the state, and the Panel found his testimony deliberately misleading

on a material line of inquiry—namely, his call to Judge Thompson’s chambers.

(Doc. 339 at 20); Tr. Evidentiary Hr’g at 178-94, In re Vague, 2:22-mc-3977-LCB

(M.D. Ala. October 10, 2023), ECF 75.

      The Panel’s findings are worth quoting in full:
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       The Panel asked Charles multiple questions about his phone call to
       Judge Thompson’s chambers. He unequivocally and repeatedly
       testified that he did not call judge’s chambers. At the May 20 hearing,
       Charles initially denied several times that he called Judge Thompson’s
       chambers. (May 20 Hearing Tr. at 178-79, 184-85, 187, 190-91).
       Initially, the Panel first inquired of Charles generally if he made any
       phone call to the Middle District. (Id. at 178). Next, the Panel asked if
       he “call[ed] anyone’s chambers about the assignment of the case.”
       (Id. at 179). Then the Panel specifically asked him three times whether
       he spoke to any law clerk of any judge in the Middle District about
       assignment of Walker to that judge or the potential for a motion for
       temporary restraining order being filed in Walker. (Id. at 184-85, 187,
       190-91). Each time, Charles responded that he never made any phone
       call and testified that he “was incredibly certain” he would have
       remembered if he did. (Id. at 191). But, shortly after the Panel read his
       cell phone number to him, Charles asked if he could correct his earlier
       answers and admitted that he did call Judge Thompson’s chambers. (Id.
       at 191-92). Charles’s testimony is even more troubling given that he
       made this statement while being questioned about his call to Judge
       Thompson’s chambers: “My pause is only because I am endeavoring to
       be as candid as possible. I do not recall ever calling any chambers with
       this request, Your Honor, at any point.” (Id. at 179).

(Doc. 339 at 19). “The only reasonable reading of Charles’s testimony,” it

concluded, was that initially, Mr. Charles

       deliberately misled [the] Panel about the phone call to Judge
       Thompson’s chambers—and continued to do so up until the moment in
       his testimony that it became clear to him that the Panel was fully aware
       of his call. It is inconceivable that, in light of all the circumstances
       surrounding the call, Charles genuinely forgot about the phone call to
       Judge Thompson’s chambers.

Id. at 20.
       To this Court, three key facts make Mr. Charles’s testimony particularly

disturbing: (1) the fact that Judge Thompson was never assigned Walker, meaning

that Mr. Charles called the chambers of a judge who did not have the case; (2) Mr.
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Charles’s admission that he never called the chambers of Chief Judge Marks (who

was assigned Walker) to alert her to a forthcoming emergency motion; and (3) Mr.

Charles’s apparent surprise that the Panel was aware of his call.7 The Court is also

mindful of the practical reality that the only reason to lie about a call to a judge’s

chambers to alert them to a forthcoming emergency motion is if the call was for an

improper purpose; such an administrative call is not per se improper. In any event,

there is no doubt that Mr. Charles’s statements occurred after receiving the benefit

of counsel’s advice and after receipt, and perhaps review, of the Q&A Document.

       The second part of the test is satisfied because the Q&A Document was

prepared by and shared with Walker counsel (including Mr. Charles) and contained

answers to give the Panel at the May 20, 2022 hearing—the very hearing at which

Mr. Charles was found to have deliberately misled the Panel. To put a finer point on

it: three federal judges believe in good faith that Mr. Charles intentionally lied to the

Panel in sworn testimony at the May 20, 2022 hearing about his call to Judge



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  JUDGE PROCTOR: It seems to me—I’m going to be unfair with you. I’m just telling you what
I’m thinking here. This is not—this is Proctor being cards up. The phone number doesn’t spark a
recollection. The phone number sparks a realization that I have some information that you didn’t
think I had.

MR. CARL CHARLES: Your Honor, I did find it unusual that you had that. But then I tried to
think about what we had to submit to this Court and had I listed that on other filings. And while
you were asking—while Your Honors were asking me other questions, I was trying to think in my
mind about the events of those two days.

Tr. Evidentiary Hr’g at 193, In re Vague, 2:22-mc-3977-LCB (M.D. Ala. October 10, 2023),
ECF 75.
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Thompson’s chambers. There is no basis to conclude that no reasonable person could

believe in good faith that he potentially perjured himself. Likewise, there is no basis

to conclude that an in camera review of the Q&A document would surely fail to turn

up evidence that he intentionally lied to the court.

      Fraud on the Court. It is a firmly established tenet of law that “[e]very district

court ‘has the power to conduct an independent investigation in order to determine

whether it has been the victim of fraud.’” In re E.I. DuPont De Nemours & Co.-

Benlate Litig., 99 F.3d 363, 367 (11th Cir. 1996) (quoting Chambers v. NASCO, Inc.,

501 U.S. 32, 44 (1991)); accord JTR Enters., LLC v. Columbian Emeralds, 697 F.

App’x 976, 988 (11th Cir. 2017) (affirming the district court’s invocation of the

crime-fraud exception for a “massive fraud [on] the court”).

      Fraud on the court is a “species of fraud which does[,] or attempts to, defile

the court itself, or is a fraud perpetrated by officers of the court so that the judicial

machinery cannot perform in the usual manner its impartial task of adjudging cases.”

Travelers Indem. Co. v. Gore, 761 F.2d 1549, 1551 (11th Cir. 1985). Without more,

neither fraud among parties, fraud that fails to “present[] a deliberate scheme to

directly subvert the judicial process,” nor fraud that can be exposed at trial, like

perjury in an adversarial proceeding, rises to the level of fraud on the court. Id.

      The facts support a good faith belief by a reasonable person that the Q&A

Document will reveal evidence of a fraud on the court by Esseks, Faulks, Charles,


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and Hartnett. The Panel’s inquiry consumed substantial time and resources from

three federal judges, who conducted an extensive investigation, reviewed

voluminous evidence, and deliberated at great length about the Respondents’

conduct. Ultimately, the Panel unanimously concluded that eleven attorneys,

including the four Walker Respondents, purposefully attempted to circumvent the

random case-assignment procedures for the Northern and Middle Districts of

Alabama. (Doc. 339). In reaching that conclusion, the Panel discredited the

testimony of the Walker Respondents that they did nothing wrong and had no

wrongful intent. The Panel expressly proclaimed concern about Walker counsel’s

candor.

      Taken together with four other facts—(1) the Panel’s contemporaneous

finding that one Walker Respondent (Mr. Charles) intentionally lied to the Panel

about a material issue up until the moment it became clear he could not get away

with it; (2) only one Walker attorney, Mr. Inglehart, disclosed the existence of the

Q&A document; (3) Mr. Inglehart’s statement that the Q&A document was

circulated to all Walker counsel involved in the Panel inquiry; and (4) the conflict

between Mr. Inglehart’s testimony that he and his co-counsel reviewed the Q&A

Document to prepare themselves for the hearing and other Respondents’ contentions

that the document was designed to prepare Mr. Ragsdale for the hearing (compare

Tr. Evidentiary Hr’g at 54-55, In re Vague, 2:22-mc-3977-LCB (M.D. Ala.


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November 2, 2023), ECF 98, with Decl. James D. Esseks Supp. Walker Counsel’s

Mot. Protective Order at 1-2, In re Vague, 2:22-mc-3977-LCB (M.D. Ala. 2022 July

21, 2022), ECF 34-1)—the Panel’s disbelief of the Walker Respondents’ testimony

supports a good faith belief by a reasonable person that an in camera review of the

Q&A document will reveal evidence that the Walker Respondents used that

document to coordinate materially misleading testimony to the Panel for the purpose

of frustrating the inquiry into whether those Respondents intentionally tried to

subvert the administration of justice by judge-shopping.

      The Respondents contest the finding of a prima facie case of fraud on the court

on four grounds. First, they claim the evidence in this case comes nowhere “close to

establishing a crime or fraud.” (Doc. 552 at 28). In this vein, the Respondents argued

at the May 28 hearing that “fraud upon the court is more than merely testifying

falsely,” and that “[t]he Eleventh Circuit said in the Travelers v. Gore case [that]

perjury does not rise to the level of fraud upon the court.” (Doc. 568 at 12).

      This argument misstates the standard. To trigger an in camera review, all

that’s required is evidence to support “a good faith belief by a reasonable person”

that the review will turn up evidence that would, in turn, establish a fraud on the

court. Zolin, 491 U.S. at 572. It’s difficult to see how a unanimous finding by a Panel

of three judges that one Respondent lied, that they are “concern[ed]” about the

candor of his colleagues, and that they reject their testimony as unworthy of belief


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does not evince a good faith belief by a reasonable person that there has been a

coordinated attempt by officers of the court to frustrate the Court’s investigative

task. See Travelers Indem. Co., 761 F.2d at 1551.

      Moreover, the Respondents’ Travelers argument ignores that the case’s logic

undermines the position they cite it for. Travelers concerned relief from a judgment

under Rule 60 of the Federal Rules of Civil Procedure, which authorizes district

courts to “entertain an independent action . . . to set aside a judgment for fraud on

the court.” Travelers Indem. Co. v. Gore, 761 F.2d 1549 (11th Cir. 1985). The

Travelers court expressly rejected the plaintiff’s contention that the fraud in that

case—perjury by the defendant—“present[ed] a deliberate scheme to directly

subvert the judicial process,” because the fraud “primarily concern[ed] the two

parties involved.” Id. at 1552. For purposes of setting aside the judgment under Rule

60(b), perjury did “not constitute fraud upon the court” because an “opposing party

is not prevented from fully presenting his case and raising the issue of perjury in the

original action.” Id. In the typical case,

      Perjury and fabricated evidence . . . can and should be exposed at trial,
      and the legal system encourages and expects litigants to root them out
      as early as possible. . . . Fraud on the court is therefore limited to the
      more egregious forms of subversion of the legal process, . . . those we
      cannot necessarily expect to be exposed to by the normal adversary
      process.

Id. Here, of course, there were no adversarial litigants to root out and expose untruths

peddled to the Panel. These disciplinary proceedings are precisely the sort of case in

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which “subversion of the legal process” cannot be exposed “by the normal adversary

process.” Id.

      Second, the Respondents object that the Panel’s Report “does not support a

blanket conclusion that all Walker Respondents failed to testify truthfully or

defrauded the Court.” (Doc. 552 at 30-31). This is revisionist history. If the Panel

had believed the Walker Respondents, it would not have found that they intentionally

tried to manipulate random case assignment procedures for two districts in the state.

Likewise, if the Panel had disbelieved only Mr. Charles or only Mr. Esseks, it

(a) surely would have said so in its 53-page Report, and (b) would have excluded the

other Walker Respondents from a finding of misconduct. At the outset of its factual

findings, the Panel noted that its account cited only “representative testimony,” and

in the relevant footnote, it cited Esseks’s testimony only by way of “example”—not

as the sole grounds for its broader finding. (Doc. 339 at 16, 18 n.3).

      Third, the Respondents contend that an adverse credibility finding is not

enough to establish a prima facie case of the crime-fraud exception. They say that if

it were enough, “then at least one party would lose privilege in virtually every case.”

(Doc. 552 at 31). Respondents ignore the nature of these proceedings. This is not an

ordinary civil case in which a court simply disbelieved testimony about an important

fact: here, a three-judge panel was investigating whether lawyers intentionally

attempted to subvert the administration of justice by judge-shopping, unanimously


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found that they did, unanimously disbelieved their explanations that they did not,

unanimously expressed concern about their candor, and unanimously found that one

lawyer lied outright. If this is not enough to open the door for an in camera review

of the Q&A document, it is difficult to imagine what would suffice.

      Fourth, the Respondents complain that the “Panel elsewhere expressly praised

Walker Counsel’s testimony.” Id. at 32. Notably, their citation concerns only

Hartnett, not all Walker counsel. This isolated praise does not overcome the findings

in the Panel’s Report. After all the evidence was in and the Panel had deliberated on

the facts, it concluded that Walker counsel’s candor was concerning, making no

exception for Hartnett. (Doc. 339 at 18 n.3).

      As to the second part of the test, the record supports a good faith belief by a

reasonable person that the Q&A Document was created “in furtherance of . . . or was

closely related to” the Walker Respondents’ attempt to defraud the court. Schroeder,

842 F.2d at 1226. Mr. Esseks described the Q&A document as prepared by senior

members of the Walker team, who “generated a list of potential questions and

answers based on their collective knowledge of the events leading up to the May 20

hearing.” Decl. James D. Esseks Supp. Walker Counsel’s Mot. Protective Order at

1-2, In re Vague, 2:22-mc-3977-LCB (M.D. Ala. 2022 July 21, 2022), ECF 34-1

(emphasis added). A reasonable person could believe in good faith that the Q&A

document was the Walker team’s effort to get their story straight before anyone


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appeared in court, and that their story was less than the truth, the whole truth, and

nothing but the truth.

      In answer to the test’s second part, the Respondents raise three further

objections. First, they claim “that the only activity that the Q&A Document was

created in ‘furtherance’ of was preparation for the May 20, 2022 hearing.” (Doc. 552

at 32). Pressing the claim further, they insist that a prima facie case on these facts

      would mean that in every case where an individual accused of some
      form of misconduct hires a lawyer to prepare a defense and advocate
      on his or her behalf, there would be a risk that the accused’s privileged
      communications with counsel could be breached based on the
      factfinder merely characterizing that advocacy as being in
      “furtherance” of the underlying accusations of misconduct.

Id. at 33. This argument also ignores the nature of this case. As explained above, it

warps reality to describe this as an ordinary case involving an individual merely

accused of misconduct. The Q&A Document bears on the issue whether licensed

attorneys testified truthfully in response to questions about whether they

intentionally tried to subvert the administration of justice by judge-shopping. The

prima facie case here rests not on the underlying judge-shopping misconduct, but

rather on the Respondents’ apparent efforts to mislead the Panel in its investigation.

And as already explained, the Q&A Document is not merely Mr. Ragsdale’s

advocacy—at least some of the Walker attorneys used it to prepare themselves to

answer questions from the Panel at their first appearance.



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       Next, the Walker Respondents contend that “the Q&A Document could not

have been in “furtherance” of fraudulent testimony given the uncontradicted

evidence that Respondents did not believe they would be testifying at the May 20,

2022 hearing at all.” Id. Several respondents, including Esseks in his declaration and

Helstrom in her testimony, acknowledged that they understood they would likely

have to answer questions that first day, so the Court understands their complaint to

be that they didn’t know they’d be under oath.8

       Respondents cite no case that cleaves a difference between defrauding the

court under oath and defrauding the court otherwise. Whether by sworn testimony

or unsworn statements, defrauding the court is patently unethical behavior that

erodes the very bedrock of our legal system. For purposes of assessing whether a

reasonable person could believe in good faith that the Walker Respondents may have

coordinated an attempt to mislead the Panel, the Court discerns no reason to assign

any importance to what the Walker Respondents thought might happen at the hearing

on May 20, 2022. There is nothing unusual about attorneys testifying under oath in

an investigation into attorney misconduct.




8
  When pressed to explain “why nobody would expect there would be testimony, much less sworn
testimony” when “a three-judge panel summons all these people for . . . an inquiry into whether
there was judge shopping or not,” Mr. Ragsdale conceded that “[i]n hindsight, it seems pretty
naïve,” and “maybe we should have foreseen it, and maybe it makes sense.” (Doc. 568 at 63-65).
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      Finally, the Respondents object that “[m]erely discussing ‘collective

knowledge’ about past events alone is not improper in the absence of a sequestration

order, particularly as here where the undisputed purpose was to educate counsel for

an upcoming hearing.” Id. at 34 Here again, the Walker Respondents ignore their

circumstances.

      In the current posture of this case, the Court cannot be expected to take them

at their word that the Q&A document was a mere discussion of past events. The

Panel has now unanimously discredited these Respondents’ testimony about those

past events, and it has found that one of those Respondents intentionally lied, all in

testimony about whether there was intentional judge-shopping. At a minimum, based

on Esseks’s declaration, the “discussion” was shared with the entire Walker team,

and may have supplied them with answers about which they had no personal

knowledge, or even prompted them to give such answers.

      Moreover, the crime-fraud exception applies where an attorney’s assistance

“was used to cover up and perpetuate [a] crime or fraud.” In re Grand Jury

Subpoenas, 144 F.3d 653, 660 (10th Cir. 1998); accord Drummond, Inc. v.

Collingsworth, No. 2:11-CV-3695-RDP, 2015 WL 13768169, at *28 (N.D. Ala.

Dec. 7, 2015). The exception applies even when the attorney wasn’t “aware of the

illegality involved,” as long as his assistance “furthered, or was intended by the client




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to further, that illegality.” In re Grand Jury Proc. #5 Empanelled Jan. 28, 2004, 401

F.3d 247, 251 (4th Cir. 2005).

      In such cases, the clients’ past misconduct merely supplies a motive for the

ongoing or later fraud, the cover-up itself; it does not itself generate the basis for the

exception. As discussed throughout this section, the Panel expressed grave doubts

about Walker counsel’s testimony and reached the troubling conclusion that one of

them lied to cover up his call with Judge Thompson—a call the Panel considered

judge-shopping misconduct. Accordingly, the facts support a good faith belief by a

reasonable person that the Q&A Document was prepared in furtherance of the

Walker team’s attempt to cover up their past judge-shopping misconduct.

      Moving on, the Panel’s finding that Mr. Charles “deliberately misled the

Panel” also provides a stand-alone evidentiary basis for a prima facie showing of

fraud on the court. (Doc. 339 at 20). Put differently, the Panel’s finding (and

independently, the transcripts they rely on) support a prima facie case of perjury as

a “crime,” but they also suffice to show a prima facie case of fraud on the court under

the separate heading of “fraud.”

      At the May 28 hearing, the Court raised the issue of Mr. Charles’s

misstatements. Counsel for Ms. Hartnett conceded that at least hypothetically, a

good-faith belief by a reasonable person that an attorney had perjured himself

supports a prima facie case that the crime-fraud exception may apply to a document


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related to the potentially perjured testimony. (Doc. 568 at 47). Counsel for Mr.

Charles disagreed, maintaining that under Travelers Indem. Co. v. Gore even a good

faith belief by a reasonable person that an attorney has perjured himself is

insufficient to trigger an in camera review of a document related to the alleged

perjury—an argument the Court has already rebutted. In their withdrawn petition for

a writ of mandamus, which was signed by both Ms. Hartnett’s counsel and Mr.

Charles’s counsel, the Respondents claimed a “clear and indisputable right” to

mandamus relief in part on the grounds that finding a prima-facie case for the crime-

fraud exception’s applicability to the Q&A Document was an abuse of discretion.

(Doc. 534 at 20-25). The colloquy at the May 28 hearing, however, suggests that

their right to relief was patently disputable—even among co-petitioners.

      As to the second part, there is also “a showing that the attorney’s assistance

was obtained in furtherance of the criminal or fraudulent activity or was closely

related to it.” Drummond Co., Inc., 885 F.3d at 1335. The Q&A Document was

prepared by and shared with Walker counsel and contained answers to give the Panel

at the May 20 hearing—the very hearing at which Charles gave the answers to the

Panel that establish a prima facie case of perjury.

      The Panel’s finding that Walker counsel’s candor was on the whole

concerning and that Charles deliberately misled it, the transcript of Charles’s

testimony, Esseks’s description of the Q&A, and Inglehart’s description of the Q&A


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plainly establish a “factual basis adequate to support a good faith belief by a

reasonable person that in camera review” of the Q&A Document “may reveal

evidence to establish the claim that the crime-fraud exception applies.” Zolin, 491

U.S. at 572.

               iv.   Given this prima-facie showing, the Court has discretion
                     to review the Q&A Document in camera to determine
                     whether the crime-fraud exception applies.

      Once a showing has been made to establish a prima facie case the crime-fraud

exception applies, “the decision whether to engage in in camera review rests in the

sound discretion of the district court.” Zolin, 491 U.S. at 572. When deciding

whether to review a document in camera, the Court should consider

      the facts and circumstances of the particular case, including, among
      other things, the volume of materials the district court has been asked
      to review, the relative importance to the case of the alleged privileged
      information, and the likelihood that the evidence produced through in
      camera review, together with other available evidence then before the
      court, will establish that the crime-fraud exception does apply.
Id. At “maybe eight, ten pages,” (Doc. 568 at 52-53), the Q&A Document is hardly

voluminous. And as the Court has already explained at length, the totality of

circumstances in this case make the Q&A document highly relevant to the Court’s

task at hand and compel a good-faith belief that in camera review is likely to turn

up evidence that the crime-fraud exception applies. In most cases, in camera review

is a routine exercise. There is no reason for this case to be any different, and every

reason to conduct such a review without further delay.

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             v.   A special master is neither necessary nor appropriate for
                  in camera review of the Q&A Document.
      Even though district courts are vested with the “sound discretion” to review

privileged documents in camera and routinely do so, Zolin, 491 U.S. at 572, the

Respondents claim that “the only just option” for determining the Q&A Document’s

privileged status is to deviate from black-letter law and centuries of routine practice

by appointing a special master to review it. (Doc. 552 at 39; accord Doc. 528 at 7).

According to the Respondents, a standard-order in camera review of the document’s

claim to privilege would risk “poison[ing] the well by allowing the ultimate

decisionmaker to review” the applicability of the crime-fraud exception (Doc. 552

at 38), which the Court understands to say that it would abuse its discretion by

reviewing the document in camera itself. The risk of “prejudice” to their cause is so

great, they say, that “the interests of justice strongly favor the appointment of a

special master”; and that risk is so entrenched, they suggest, that the special master

must be drawn from “outside the Alabama district courts.” (Doc. 552 at 38; see also

Doc. 528 at 7).

      The Respondents cast this argument in four ways. First, they claim that this

case presents the “typical factors” favoring special masters because of a “general

risk” that factfinding judges “will be prejudiced by reviewing privileged material.”

(Doc. 552 at 37). Second, they contend that “the potential for prejudice” is

“especially great” where the “underlying charge” is a fraud on the court. Id. Third,

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they contend that district courts cease to be neutral decision-makers in attorney

misconduct proceedings, so this case’s very nature “makes the risk of prejudice

especially acute.” Id. Finally, they suggest that the Court cannot be fair or impartial

because the “the allegations in this case are unavoidably personal.” Id.

      To begin with, this case is far from the typical case for appointing a special

master. A special master is not needed to aid the Court in reviewing one 8-to-10 page

document and deciding an issue within its core expertise: whether the crime-fraud

exception defeats the Respondents’ claims of privilege

      More to the point, the Respondents’ concerns of “a general risk” that

privileged materials might prejudice factfinding judges in their ultimate decision-

making is fundamentally misguided. (Doc. 552 at 37). A core assumption of our

Anglo-American system of justice is that district courts sitting as factfinders are

never prejudiced by inadmissible evidence—a point the Supreme Court has been

making for at least 175 years:

      [W]here the court decides the fact and the law without the intervention
      of a jury, the admission of illegal testimony, even if material, is not of
      itself a ground for reversing the judgment, nor is it properly the subject
      of a bill of exceptions. If evidence appears to have been improperly
      admitted, the appellate court will reject it, and proceed to decide the
      case as if it was not in the record.

United States v. King, 48 U.S. 833, 854–55, 12 L. Ed. 934 (1849).

      Nor has this principle eroded with time. More recently, the Supreme Court

reiterated that “[i]n bench trials, judges routinely hear inadmissible evidence that

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they are presumed to ignore when making decisions.” Harris v. Rivera, 454 U.S.

339 (1981). And that’s the law in this circuit, too. In a bench trial, for instance, a

district judge is assumed to exclude “improper inferences from his mind in reaching

a decision,” because “[h]e is trained to recognize and to exclude those matters which

the rules of evidence require be discarded.” Gulf States Utilities Co. v. Ecodyne

Corp., 635 F.2d 517, 519 (5th Cir. 1981);9 accord Health First, Inc. v. Hynes, 628

F. App’x 723, 724 (11th Cir. 2016).

       What’s more, the Respondents acknowledge in arguments elsewhere in this

case that the Court is not prejudiced by reviewing inadmissible evidence. In her

motion re-urging the Court to consider the expert testimony of Mr. Clark

Cunningham, Ms. Hartnett pressed the point that “[t]he ‘gatekeeper’ doctrine was

designed to protect juries and is largely irrelevant in the context of a bench trial.”

(Doc. 504) (citing Deal v. Hamilton Cty. Bd. Of Educ., 392 F.3d 840, 852 (6th Cir.

2004)). At the May 28 hearing, Ms. Hartnett’s counsel argued for limiting the

principle to “the expert witness arena,” but that suggestion rests on nothing but air.

(Doc. 568 at 26). Neither Ms. Hartnett nor any other Respondent has cited law for

that principle, nor have they cited a statute or case that suggests (let alone holds) that




9
  Under Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir.1981) (en banc), all Fifth Circuit
decisions handed down before the close of business on September 30, 1981 are binding precedent
in the Eleventh Circuit.
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parties suffer any prejudice when district courts review documents in camera to

decide whether the crime-fraud exception will defeat a claim of privilege.

      Ultimately, the Respondents cite no law contradicting this Court’s ability to

review evidence without being prejudiced by it, because none exists. Lacking

binding and non-binding case law alike, the Respondents rely instead on cherry-

picked commentary culled from one law review article and one practitioner’s

summary guide. While both these publications suggest (in passing) that courts

should “ideally” delegate questions of privilege to another decision-maker, the legal

expositions of the crime-fraud exception in these sources contradict the

Respondents’ central claim.

      As both authors explain, “the rule in federal courts” is that district courts are

vested with the sound discretion to review privileged communications in camera to

determine whether the crime-fraud exception applies. See Douglas R. Richmond,

Understanding the Crime-Fraud Exception to the Attorney Client Privilege and

Work Product Immunity, 70 S.C.L.R. 1, 27-30 (2018); accord Thomas E. Spahn, A

Practitioner’s Summary Guide to the Attorney-Client Privilege & the Work Product

Doctrine, 297–98 (2013) (observing that while “[s]ome courts decline to conduct in

camera review,” most do “in appropriate circumstances,” and that “[c]ourts

assessing the crime-fraud exception almost always undertake or consider in camera

reviews.”).


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      Second, the suggestion that this alleged “prejudice” is heightened when the

“underlying charge” is a fraud on the court likewise lacks any basis in law. Again,

the Respondents cite no authority for this proposition because none exists: the law

simply does not recognize prejudice among district courts reviewing potentially

privileged or irrelevant materials, no matter the underlying charge. The

Respondents’ suggestion makes even less sense given that “[e]very district court has

the power to conduct an independent investigation in order to determine whether it

has been the victim of fraud.” In re E.I. DuPont De Nemours & Co.-Benlate Litig.,

99 F.3d 363, 367 (11th Cir. 1996).

      Judges who sit as “the ultimate decisionmaker” are plainly empowered to

conduct in camera reviews of potentially privileged communications. See FED. R.

EVID. 104(a) (“The court must decide any preliminary question about whether . . . a

privilege exists[] or evidence is admissible.”). Judges frequently and regularly, in

bench trials throughout the country, review inflammatory, privileged, and ultimately

inadmissible evidence in camera before deciding the ultimate issue. Carried to its

conclusion, the Respondents’ countervailing logic would spell the end of bench

trials: every evidentiary objection of privilege or prejudice would call for a second

judge and a second-hand adjudication, the sheer volume of which would quickly

cripple the courts.




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      Pushing their special-master argument to the brink, the Respondents insist that

the appointment must be made “outside the Alabama district courts” because the risk

of prejudice is endemic not just to this Court but to every federal judge in the state.

(Doc. 552 at 36). The Respondents’ contention that no judge in Alabama’s federal

judiciary is capable of fairly and impartially determining the Q&A Document’s

privileged status rests not on any law, but on two comments that the Panel made

early in its inquiry—namely, (1) “a couple judges in the Northern District . . . wanted

to monitor” the proceedings, and (2) “court personnel around the state” were

concerned about the Respondents’ conduct. (Doc. 552 at 36); (Doc. 528 at 7) (citing

Tr. Evidentiary Hr’g at 9-10, In re Vague, 2:22-mc-3977-LCB (M.D. Ala. October

10, 2023), ECF 79).

      Ms. Hartnett’s counsel was asked at the May 28 hearing to explain why he

believed that every federal district judge in the State of Alabama was incapable of

honoring his or her oath under 28 U.S.C. § 453 and performing an impartial in

camera review. Unable to give a reason, counsel conceded that the Respondents

“were not taking the position” that the Court should refer the Q&A Document to a

special master on the grounds that “[they] don’t think a particular judge can be fair.”

(Doc. 568 at 33-41). What this statement concedes, of course, is an

acknowledgement that every judge in the state—including this one—is indeed

capable of conducting a fair and impartial in camera review.


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      Third, the Respondents argue that the Court is “manifestly not” a neutral

arbiter. (Doc. 568 at 37). As Ms. Hartnett’s counsel reaffirmed at the May 28

hearing, this theory derives from the Supreme Court’s statement that state-

disbarment proceedings “are adversary proceedings of a quasi-criminal nature.” In

re Ruffalo, 390 U.S. 544, 551 (1968). But this argument misrepresents Ruffalo up

and down. Ruffalo neither concerned the district court’s neutrality nor held that it

“act[s] as investigator, prosecutor, judge, and jury all at once” in attorney-

misconduct proceedings. (Doc. 568 at 37). The Supreme Court was considering the

limited question of whether an attorney could be disbarred for conduct he did not

know to be grounds for disbarment, and it holds only that attorneys charged with

misconduct are entitled to procedural due process and notice of the charges against

them. In re Ruffalo, 390 U.S. at 551-52. Although they were asked to provide one,

the Respondents have cited no case holding that the nature of the proceedings or

facts of a case ever vitiate a federal district court’s neutrality or transform it into an

adversary, nor has the Court found any in its exhaustive research.

      These arguments all have one thing further in common: they presuppose that

the Q&A Document is privileged or irrelevant. But if the document is relevant (it is)

and the crime-fraud exception defeats any privilege the Respondents assert (and

there’s been a prima facie showing it will), then it would be wrong for the Court not

to consider it. See Gulf States Utilities Co., 635 F.2d at 519. Since the Court can


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“exclude . . . improper inferences from his mind in reaching a decision,” it would be

“a useless procedure” to “exclude[e] relevant evidence on the basis of ‘unfair

prejudice.’” Id.

       Finally, the Respondents allege that the Court is uniquely susceptible to

prejudice because the record contains evidence that they tried to steer Walker away

from him. Or as they put it, “the allegations in this case are unavoidably personal,”

since “there is no dispute that Respondents at times had concerns about Judge

Burke.” (Doc. 552 at 38-39). For the reasons discussed above, this argument is a

legal non-starter. But it fails on the facts, too.

       The Respondents have acknowledged that this Court honors its oath to

“administer justice without respect to persons, and do equal right to the poor and to

the rich, and [to] faithfully and impartially discharge and perform all the duties

incumbent upon [him] as [judge] under the Constitution and laws of the United

States,” 28 U.S.C. § 453. (See Doc. 568 at 40-41). Whatever “concerns” they may

have had about this Court, the Respondents would do well to remember that it

granted the relief they’d sought in the first place and enjoined enforcement of the

Alabama Vulnerable Child and Compassion Act. (Doc. 107).

C.     FURTHER PROCEDURAL SAFEGUARDS
       As the Court has reiterated throughout this order, the Q&A Document will be

submitted solely for an in camera determination of whether the crime-fraud


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exception applies. This submission “does not destroy the privileged nature of the

contested communications.” Zolin, 491 U.S. at 569. If the Court finds the Q&A

Document to be irrelevant or otherwise privileged without exception after this

review, it will consider it for no purpose, and that will be the end of the matter. If,

on the other hand, the Court finds that the crime-fraud exception defeats the attorney-

client privilege and work-product protections that the Respondents have asserted, it

will give them full opportunity to brief the issue as they see fit and set the matter for

further argument.

D.     CONCLUSION

       Judicial investigations into attorney misconduct are no doubt uncomfortable,

but they are crucial for safeguarding the integrity of the justice system. The authority

for such proceedings is clear: “[e]very district court has the power to conduct an

independent investigation in order to determine whether it has been the victim of

fraud.” In re E.I. DuPont De Nemours & Co.-Benlate Litig., 99 F.3d 363, 367 (11th

Cir. 1996).

       The Respondents have fought submission of the Q&A Document at every

step. Their arguments appear all the more spurious given their insistence that the

opposition “is really about . . . the sanctity of [the attorney-client] privilege” and

nothing in the document will “shock [the] conscience.” (Doc. 566 at 9). After all,




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submission to the Court for in camera review would preserve the “sanctity” of the

privilege that they champion. Zolin, 491 U.S. at 568, 572.

      The Respondents have now had four weeks to locate the document, and the

Court has reviewed their briefs, their arguments at the hearings of May 20 and 28,

and the controlling law. After careful consideration, the Court ORDERS

Respondents James Esseks, LaTisha Faulks, Carl Charles, and Kathleen Hartnett to

submit the Q&A Document in its native format, with all metadata, by June 18, 2024

at 5:00 p.m. The Q & A document must be sent to the Court’s chambers’ address,

burke_chambers@alnd.uscourts.gov.

      Finally, the Court notes that if this were a close case in which the parties had

a reasonable chance of prevailing on the merits of a petition for writ of mandamus,

the Court would consider staying its deadline pending a ruling on any petition the

Respondents might file. But the Respondents have enjoyed an extra three weeks to

produce the document—even bringing it with them to the last hearing—and to make

their case known through extensive briefing and hours of oral argument. After

reviewing these materials, conducting its own rigorous research, and thoroughly

reviewing the law and facts, the Court is persuaded that the Respondents have no

meritorious arguments to raise in the Eleventh Circuit, much less a clear and

indisputable legal right to relief. Further, final show-cause hearings are set to begin

June 24, 2024, a date that has already been continued once, and it is important for


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the parties and the Court alike that these disciplinary proceedings—which have

spanned two years and involved four federal judges, dozens of lawyers, and

hundreds of filings—come to rest. For that reason, the Court declines to stay the

production deadline any further.

      DONE and ORDERED this June 14, 2024.



                                   _________________________________
                                   LILES C. BURKE
                                   UNITED STATES DISTRICT JUDGE




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